Encisco vs. 3M Company, et al.
Removal from State Court




                        EXITIBIT   1
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     Attorneys

l6
L7                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

18
                            IN AND FOR THE COUNTY OF COCONINO
l9
     JOANN VICTORIA ENCISCO, On Her )                  No.
20   Own Eehalf and on BehalJ'oJ'All Other         )
     Sla tutoty Benefic íarias
                         o/EMMANU EL               )
21
     ENCISCO, lR., Deceased, ønd On Eehalf         )   COMPLAINT
22   ol'the ESTATE OF EMMANUEL                     )
     ENCISCO, JR. øs its Personal                  )   (Tort/f,lon-M otor Veh i cle)
z3
     Representative,                               )
24                                                 )
                                                       (rtrrongful Death)
                     Plaintifl                     )
25
                                                   )
26   V                                             )
                                                   )


         PLA¡NTIFFS' OR]CINAL COMPLAINT FOR WRONGFUL DEATH                                              I
 I   3M COMP ÃNY //k/a MINNESOTA )
     MTNTNG AND MANUF4C.TUR.TN9,?
 2                                t
     Delawarc Comoration w¡th its orincioal
     place of businbss in the State of                               )
 3
     h4innesota;                                                     )
 4
     ACE HARDWARE CORPORATTON,                                       )
     a Delaware Corporation with its principal                       )
 5   place of business in the State of lllinois;                     )
     AUTOZONE,INC.Í/Ha AUTO SHACK )
     INC., a Nevada Corporation with its
 6
                                                 )
 7   principal place of business in the State of )
     Tennessee;                                                      )
 I   CERTAINTEED CORPORATION, a )
 9   Delaware Corporation with its principal )
     place of business in the State           of                     )
10   Pennsylvania;              .                                    )
1t
     GENUINE PARTS COMPANY (srred                                    )
     índividually and as successor-in-ínteresl                       )
t2   ro NATIONAL AUTOMOTIVE PARTS                                    )
     ASSOCIATIQN a/k/a NAPA), a Ceorgia                              )
13
     Corporation with its principal place of                         )
14   business in the State of         Ceorgia;                      )
     HONEYWELL INTERNATTONAL                                        )
t5
     lNC. (srred individually and as Euccessor                      )
r6   to ALLIEDSIGNAL, INC. saccessor lo                             )
     BENDIX CORPORAI'ION), a Delaware                               )
t7
     Corporation with its principal place of                        )
t8   business in the State of New Jersey;                           )
     INGERSOLL-RAND COMPANY,                              a         )
19   New Jersey Corporation with its principal                      )
20
     place of business in the State of North                        )
     Carolina;                                                      )
21   KELLV-MOORE PATNT COMPANY,                                     )
     lNC., a Califomia Corporation with its                         )
22
     principal place of business in the State               of      )
23   Califomia;                                                     )
     PARKER-nANNIFIN                                                )
     CORPORATION (sued individually and
24
                                                                    )
25   ds s,,ccsssor-in-inleresl lo SACOMA-                           )
     SIERRA, tNC.) an Ohio Corporation with )
26
     its principal place of business in the State )
     of Ohio;                                     )


       Pl.^rN'r'r r.'l:s' oR rcr N^¡. coM Pt.^lN'f l.'0 R rvRoNoFl ,t.   D   ti^'il   I   2
 t   PROBUILD HOLDINGS LLC, (sued                               )
 2
     í nd   ividual ly and as s¿rccessor-i n-interesl           )
     to LANOGA CORPORATION,                                     )
3                          lo BABBITT
     s¿rccessor.i n- i nt ere sl                                )
     BROTHERS TRADING COMPANY), a                               )
4
     Delaware Cotporation with its principal                    )
 5   place of business in the State of Texas;                   )
     UNION CARBIDE CORPORATION, A                               )
6
     New York Corporation with its principal                    )
 7   place of business in the State of Texas,                   )
                                                                )
I                      Det'endants.                             )
9                                                               )

r0
                Comes now the Plaintiffl JOANN VICTORIA ENCISCO, On Her Own
It
     Behalf and on Behalf of All Other Statutory Benefciaries o/EMMANUEL ENCISCO,
rz
     JR., Decøased, and On Behalf              oflåe ESTATE OF EMMANUEL ENCISCO,                  JR. as irs
t3
     Personal Representatíve by and through her undersigncd counsel, for her cause of
r4
     action against Defendants, alleges as follows:
r5
                                      rN'rl3_o_p.ucrrQN A Np PA Rrr Es
r6
                l.     Cenain Defendants named herein reside in this County, maintain otïces
t7
     in this County and/or have their principal place o[ business in this County; therefore,
l8
     venue properly lies in this County.             All   or a substantial portion of the acts or omissions
l9
     that form the basis for this lawsuit occurred in this County. Certain acts or omissions,
¿0
     which were a proximate or producing causc                       ol Plaintiff's Decedent EMMANUEL
2l
     ENCISCO, JR's asbestos-related injuries, illness, and death occurred in Arizona.
22
                2.     The damages sought by Plaintift, exclusive of interests and costs, exceed
23
     the minimum jurisdictional limits            olthe Coun.
24
                3.     Plaintitï JOANN VICTORIA ENCISCO is a resident of the City of
¿5
     Cottonwood, State             of Arizona and iVwas the daughter of Plaintiffs                Decedent,
26
     EMMANUEL ENCISCO,                   JR.

                                                                         a

        pl.^rN't'llft:s' oRrclN^t, coMPt.^lN]' l:oR wRoNct.'trL ¡)rì^'t'lt                              3
 t             4.      Defendarrt      3M COMPANY (îMa                          MINNESOTA MININC AND
2    MANUFACTURINO) is a Delaware corporation registered to do business in Arizona,
3    and has irs principat place of business at 3M Center Income Tax 224-5N-40, Building
4    224-5N-40, St. Paul, Minncsota 55144-1000, Defendant,3M Company may be served
5    with process through its registered agent, Corporation Service Company, 2338 W.
6    Royal Palm Road, Suite J, Phoenix, Arizona 85021. This Defendant is being sued as                             a

7    lvl anu   factuier Defenda nt.
I               5.     Defendant       ACE HARDWARE CORPORATION is a                                     Delawan
I    corporation reg¡stered to do business in Arizona, ând has its principal place of business
r0   at2200 Kensingtort Court, Oak Brook, Illinois 60523. Defendant ACE HARDWARE
1l   CORPORATION may be served with process at its registered agent, Corporation
r2   Service Company, 2338 W. Royal Palm Road, Suite J, Phoenix, Arizona 85021. This
¡3   Defendant is bcing sued as a Supplier Defendant.
r4              6.     Defendant AUTOZONE' INC,                   !/k/a AUTO SHACK lNC. is a Nevada
l5   corporation registered to do business in Arizona, and has its principal place of business
l6   at 3030 Poplar Avenue, Memphis, Tennessee 381I                            l.   Defendant, AUTOZONE, INC.
t7   may be servcd with process through its registered agent, CT Corporation System, 3800
t8   N Central Avenue, Suite 460, Phoenix, Arizona 85012. This Defendant is being                            sued

l9   as a   Supplier Defendant.
20              7.     Defendant CERTAINTEED CORPORATTON                                         is a    Delaware
2r   corporar¡on registered to do business in Arizona, and has its principal place of business
22   at 20 Moores Road, Malvem, Pennsylvania 19355. Defendant, CERTAINTEED
23   CORPORATION may be served with process through                                     its   registered agent, CT
¿1   Corporation System,3S00 N Central Avenue, Suite 460, Phoenix, Arizona 85012.
25   This Defendant is being sued as a Manulacturer Defendant.
26




        t'1.^lN'rllil:s' ORIGIN^1. C0lvlPL^lN1' l:OR WRONCljlJl. DF.^'l   ¡I                                   I
 I            8.      Defendant GENUTNE PARTS COMPANY (sued individually and as
 2   succe.çsor-i n-i nterest      ro NATIONAL AUTOMOTIVE PARTS ASSOCIATION alkla
 3   NAPA). is a Georgia corporation registcrcd to do business in Arizona, and has its
 4   plincipal place of business at 2999 Wildwood Parkway, Atlanta, Ceorgia 30339.
 5   Defendant, GENUINE PARTS COMPANY may be served with process through its
 6   registered agent, CT Corporation System, 3800                       N Central Avenue, Suite 460, Phoenix,
 7   Arizona 85012. This Detbndant is being sued as a Supplier Defendant.
 I            9.      Defendan¡ HONEYWELL INTERNATIONAL                                         lNC.     (sued
 9   individually and as successor-in-in¡erest                     to ALLIEDSIGNAL, INC. successor to
t0   BENDIX CORPORATION) is a Delaware corporation registered to do business in
11   Arizona, and has its principal place of business at I l5 Tabor Road, Monis Plains, New
t2   Jersey   07950. Defendant HONEYWELL INTERNATIONAL lNC. nray be served
l3   with process a¡ its rcgistercd agcnt, Corpolation Service Company, 2338 W. Royal
t4   Palm Road, Suite J, Phoenix, Arizona 85021. This Defendant is being sued as                               a

r5   Supplier and Friction Defcndant.
r6            10.     Defendant INGERSOLL-RAND COMPANV                                    is a New Jersey
t7   corporation registered ¡o do business in Arizona, and has its principal place of business
18   at 800-E Beaty Street, Davidson, North Carolina 20836. Defendant INCERSOLL-
t9   RAND COMPANY may be served with process at its registered agent, Corporation
20   Service Company, 2338 W. Royal Palm Road, Suite J, Phoenix, Arizona 85021. This
2r   Defendant is being sued as an Equipment Defendant.
22            ll.     Dcfendant KELLY-MOORE PAINT COMPANY,INC. is a California
23   corporation registered to do business in Arizona, and has its principal place of business
24   at 987 Commercial Street, San Carlos, California                      94070. Defendant, KELLY-MOORli
25   PAINT COVIPANY, fNC. may be served with process through its registered agent,
26




       P1.^lNl'l¡:l;S' ORICIN^l-   COÌ\4   Pl.^lN1' l:OR WI{ONGFUI. l)t':^]'¡l                             5
 I   CT Corporation System, 3800 N Central Avenue, Su¡te 460, Phoenix, Arizona 85012.
 2   This Defendant is being sued as a Manufacturer Dcfendant.
 3          12.      Defendan¡    PARKER-IIANNlFlN CORPORATION (suerl individually
4    and as successor-ìn-¡nterest        lo SACOMA-SIERRA, tNC.) is an Ohio                   colporat¡on
 5   registered to do business in Arizona, and has its principal place of business at 6035
6    Parkland Blvd, Cleveland,              Ohio 44124.               Defendant, PARKER-l{ANNIFIN
7    CORPOR^T¡ON may be selved with proccss lhrough its registered agent, CT
I    Corporation System,3800           N Central Avcnue, Suite 460, Phoenix, Arizona              85012.
9    This Defendant is being sued as a Manufacturer Defendant.
l0          13.      Defendant PROBUILD HOLDINGS                          LLC   (sued individually and as
l1   sttccessor-in-in'terest    to LANOCA              CORPORATION, strccessor-in-ínteresl lo
t2   BABBITT BROTHERS TR^DING COMPANY) is a Delaware corporation and                                  has

l3   its principal place of busíness at 2001 Bryan Street, Suite 1600, Dallas, Texas 75234,
l4   Det'endant, PROBUILD HOLDINGS                  LLC has at all times relevant to th¡s litigation
t5   conducted business in this State and while           it   is required to maintain a registered agent
r6   for service of     process,    it has not des¡gnated such an agency. 'l'heretbre, said
t7   cotporat¡on may be served with process through its domicile registered agent, The
l8   Corporation Trust Company, Corporation Trust Cenler, 1209 Orange Street,
l9   Wilmington, DE 19801. This Def'endant is being sued as a manufacturer, supplier and
20   distributor Defendant.
2t          14.      Defendant UNION CARBIDE CORPORATTON                                is a New York
22   corporat¡on registered to do business in Arizona, and has its principal place of business
23   at 2030 Dow Center Midland, Michigan 48674. Defendant, UNION CARtslDE
24   CORPORATION may be served with process through its registered agent, CT
25   Corporation System,3800           N Central Avenue, Suite 460,             Phoenix, Arizona 85012.
26   This Defendant is being sued as a Supplier Defendant.



       t)t.AtNll l'l:s' oRtotN^t, coMPt.^tN1' FoR wRoNcnJ l. Dli^l1   1                               6
 I          15.      Decedent EMMANUEL ENCISCO, JR. sutfered and on May 8, 2018
 2   died from malignant mesothelioma, caused by an exposure to asbestos and asbestos-
 3   containing products and equipment. Decedent EMMANUEL ENCISCO, JR. was not
 4   aware at the time of exposure that asbestos o¡' asbestos-containing products presented
 5   any risk of injury and/or disease.
 6          16. . This action is brought and these allegations             are made.
 7          l?.      Each and every allegation in this Complaint is expressly made in the
 I   alternative to, as well as in addition to, every other allegation.
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ll                       ALLEGATIONS AGAINST MANUFAqTU RING
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r4          18.      Plaintiff alleges that PlaintifPs Decedent EMMANUEL ENCISCO, JR.
l5   was exposed to asbestos-containing products and/or machinery requiring or calling for
r6   the use of asbestos and/or asbestos-containing products in his occupation.                    Each
t7   Defendant corporat¡on,          3M COMPANY V/k/a MINNESO'IA MINING AND
18   MANUFACTURINC), CERI.AINTEED CORPORATION; INGERSOLL-RAND
l9   COM PAN Y; K ELL.Y.TViOO RE PAINT COM PAN Y, I NC.; PARKE R.HANNItr"I N
20   CORPORATTON (sued individually and as successor-in-inlerest fo SACOMA-
2L   SIERRA, lNC.), and PROBUILD HOLDINGS LLC (sued individually and as
22   successor-in-inleresl to LANOCA CORPORAI'ION, successor-in-inlerest to
23   BABB!T-[ BROTHERS TRADINC COMPANY), or its predecessor-in-interest is, or
24   at times material hereto, has been engaged in the mining,                         processing and/or
25   manufacturing, sale and distribution of asbestos or asbestos-containing products and/or
26   machinery requiring or calling for the use                of asbestos   and/or asbestos-containing



       P¡,^tNI',ll'ljs' oRtctN^L COMPt.^tN'r' FoR wRoNcl.'u¡. Du^I't   I                             7
 I   products. Plaintiff would show that          Plaintifls Decedent EMMANUEL ENCISCO,                  JR.
 2   had been exposed, on numerous occasions, to asbestos-containing products and/or
 3   machinery requiring or calling for the use                 of     asbcstos and/or asbestos'containing
 4   products produced and/or sold by Defendants and, in so doing, had inhaled great
 5   quântit¡es of asbestos fibers. Funher, Plaintitï alleges, as rnore spccifically set out
 6   below, that Plaintiff's Decedent EMMANUEL ENCISCO, JR. had suffered injuries
 7   proximately caused         by his exposure to            asbestos-containing products designed,
 I   manuläctured and sold by Defendants. In that each exposure to such products caused or
 I   contributed to Plaintitïs Decedent's injulies, illness and death, Plaintiff says that the
10   doctrine of joint and several liability should be extended to apply to each Defendant
u    herein,
t2              t9.   PlaintitTs Decedent EMMANUEL ENCISCO, JR. was exposed to
r3   asbestos-containing producls and/or machinery requiring or calling                       lor the use of
l{   asbestos and/or asbestos-containing products that werc manufactured, designed and
r5   dis¡ributed by the Defendants and their predecessors-in-interest for use as construction
l6   materials and/or machinery in industrial operations. Plaintiff would show that the
t7   def'ective design and condition            of the products              and/or rnachinery rendered such
t8   products unreasonably dangerous, and that the asbestos-containing products and/or
l9   machinery were in this defective condition at the time they were designed by and/or
20   left the hands of Defendants. Plaintiff would show that Defendants' asbestos-
2L   containing products and/or machinery requiring or calling for the use of asbestos-
22   conraining products were defective in the manner in which they were marketed for
23   their flailure to conta¡n or include wamings regarding potential asbestos health hazards
24   associated with the use       of or the exposure to the products. Plaintilf would show             that
25   this market defect rendered such products and"/or machinery requiring or calling for the
26   use   of   asbestos-containing products unreasonably dangerous                    at the time they were



       Pl,AlNrltjt-s' ORlctN^L CoMPt,^tN't' trOR \\,RONG]'t Jt. DU^]   ¡'l                               I
 L
     designed or left the hands of the Defendants. Plaintiffwould show that Defcndants are
 2   liable in product liability including, but not limited to, strict product liability for the
 3   above-desciibed defects.
 4          20,      The Defendants are or were engaged in the business of                          selling,
 5   manufacturing producing, designing and otherwise putt¡ng into the stream of
 6   commerce asbestos'containing products and/or machinery requiring or calling for the
 7   use of asbestos-containing products, and these asbestos-containing products and/or
 I   machinery, without substantial change            in the condition in which they were sold,
 9   manufactured, produced, designed and othenvise put into the stream of commerce were
t0   a proximate and producing          cause    of the injuries,       illness and death   of   Plaintiflf's
ll   Decedent EMMANUEL ENCISCO, JR.
t2          21.      Defendants knew          that these asbestos-containing products                and/or
t3   machinery requiring or calling for the use of asbestos-containing products would be
l4   used without inspection      lbl defects and, by placing them on the market,            represented
r5   that they would safely do the     job for which they were intended, which must necessarily
l6   include safle manipulation        or   installation   of the asbestos-containing products               or
t7   operation, maintenance and repair of the machinery requiring or calling for the use of
18   asbestos and asbestos-containing materials.
t9          22.     PlaintifPs Decedent EMMANUEL ENCISCO, JR. was unaware of the
20   hazards and defects in the asbestos-containing products of the Defendants, which made
zt   them unsat'e for purposes         of   manipulation     or installation. Similarly, Plaintiffs
22   Decedent EMMANUEL ENCISCO, JR. was unaware of the hazards and defects in the
23   products requiring or calling for the use of asbestos and asbestos-containing materials.
21           23.     During the periods that Plaintiffs Deccdcnt EMMANUEL ENCISCO,
25   JR. was exposed to the asbestos-containing products and/or machinery requiring or
26   calling tbr the use of asbestos-containing products of the Det?ndants, these asbestos'



       P1.^lN'flf [S' oRtCtN^L COMpt,^tNt' FOR WRONC|:tfl. DE^I'¡   I                                    I
 1
      conta¡ning products were being utilized               in a         manner, which was intended by
 2    Defendants,
 3           24.      In the event that Plaintiff is unable to identify each injurious exposurc to
 4    asbestos-containing products and/or machinery requiring                    or calling for the use of
 5    asbestos-containing products, Plaintiff would show the Court that the Delendants
 6    named herein represent       or   represented a substantial share           of the relevant market of
 7    asbestos-containing products and/or machinery requiring                    or calling fbr the use of
 I    asbestos-containing products at all times material to the cause of action. Consequcntly.
 9    each Defendant should be held jointly and severally liable under the doctrines of
r0    enterprise liability, market-share liability, concen               of action and alternätive liability.
It    among others.
l2           25.      The injuries, illness, disabilities and death                of Plaintiffls Decedent
l3    EMMANUEL ENC¡SCO, JR. are a direct and proximate result of the negligence of
t¡l   each Defendant and its predecessor-in-interest in thât said entities produced, designed.
l5    sold and othenvise put into the stream  of commerce, asbeslos,                    asbestos-containing
l6    products   and/or machinery requiring or calling for the use of                   asbestos-containing
l7    products, which the Defendants knew, or in the exercise of ordinary care, should have
l8    known were deleterious and highly harmful to Plaintiff's Ðecedent EMMANUEL
t9    ENC¡SCO, JR.'s health and well-being. Cerrain Defendants øeated hazardous and
20    deadly conditions      to which Plaintitï was exposed and which                     caused PlaintifPs
2t    Decedent EMMANUEL ENC¡SCO, JR, to be exposed to a large amount                             of   asbestos
22    fibers. The Defendants were negligent in one, some, or all of the following respects,
23    among others, sarne being the proxima¡e cause of           Plaintifls Dccedent's injuries, illness
24    disabilities and death:
25           (a) in Îàiling to timely and adequately wam Plaintiff's                                  Decedent
26    EMMANUEL ENCISCO, JR. of the dangerous character¡stics and                              serious




        Pl,^tNlIt'FS' ORtCtN^L COMPI.^tN]' I'OR WRONC||Ut. t)þ:^11   I                                    l0
 I   hazards associated        with exposure to         asbestos, asbestos-containing products and/or
 2   machinery requiring or calling lor the use of asbestos-containing products;
 3           (b)       in failing to provide Plaintiff's Decedent EMMANUEI- ENCISCO,                        JR.
 q
     with infbrmat¡on as to what would be reasonably safe and sufÏicient wearing                     apparel
 5   and proper prolective equipment and appliances, ¡f in truth there rvere any, to protect
 6   PlaintifPs Decedent EMMANUEL ENCISCO, JR. f'rom being harmed and disabled by
 7   exposure     to   asbestos, asbestos-conta¡n¡ng products ¿nd/or machinery requiring or
 I calling lor the use of asbestos-containing            products;
 9           (c)       in t'ailing to place timely and adequate rvamings on the containcrs of said
l0   asbestos,    or   asbestos-containing products,           or on ¡he asbestos-containing products
1t   themselves, and/or machinery requiring or calling                   for the use of asbestos-containing
L2   produc¡s to warn of the dangers to health of coming into contact with said asbestos-
r3   containing products and/or machinery;
t4          (d)        in f'ailing to take reasonable precautions or exe¡'cise reasonable care               to
l5   publish, adopt and enforce a safety plan and safe method of handling and installing
r6   asbestos and asbestos-containing producls and/or machinery requiring or calling for the
17   use ol'asbestos-containing products in a safe manner;
l8          (e) in failing to develop and utilize a substitute material or design to
l9   eliminate asbestos fibers           in the asbestos-containing           products and/or machinery
z0   requiring or calling tbr the use of asbestos-containing products;
2t          (f)        in   failing to properly design and manut'acturc asbestos,                  asbestos-
22   containing products and/or machinery requiring or calling                    fol the use of   asbestos-
23   containing products, for safe use under conditions                     of   use that were reasonably
24   anticipated;
z5          (g)        in failing to properly test said asbestos-containing pnrducts or machinery
26   before they were released for consumer use; and




       Pt,^tN't"llI;s' 0RtctN^1. coM PL^lNl' t:oR wRoNct!t/L Dli^1'l.l                                 t1
  I             (h)   in failing to recall or remove from the stream of commerce said asbestos.
  2   corrtaining products and/or machinery requiring or calling for the use of asbestos-
  3   containing products despite knowledge of the unsafe and dangerous nature of such
 4    products.
  5


 6                                              couNT Twq
  7       ALLECATTONS ACA INST SUppLr                     E   R/ plpTRIÞUTOR pErENpA NTS-
 8              26.   All of the allegations contained in the previous paragraphs are re-allcged
 9    herein.
l0              27. For all pertinent times,                    Def'endants   ACE    HARDWARE
It    CORPORATION; AUTOZONE, INC.                         f/k/a trUTO SHACK lNC.; GENUINE
r2    PARTS COMPANY (sued individuall¡t and as successor-ín-interest ro NATIONAL
r3    AUTOMOTIVE PARTS ASSOCIATION alkla NAPA); PROBUILD HOLDINCS
l4    LLC   (suecl indíviduall¡, and as successor-in-interest         la LANOGA CORPORATION,
15    successor-ìn-interest     to   BABBITT BROTHERS TRADINC COMPANY),                           and
r6    UNION CARBIDE CORPORAT¡ON, (Supplier Det'endanrs), individually,                         sold,
17    distributed, and supplied asbestos and asbestos-containing products, which PlaintifPs
r8    Decedent EMMANUEL ENCISCO, JR. came                         in contact with and urilized,   and
t9    asbestos which    Plaintilfls Decedent EMMANUEL ENCISCO, JR. inhalcd, causing his
z0    injuries, illnesses, and death.
zr              28.   Supplier De[endants, as manufactuners, miners, shippers and suppliers of
22    asbestos fibers     to   various locations owned            or operated by   asbestos product
23    manut'acturers, are liable     to Plaintiffs Decedent EMMANUEL ENCISCO, JR.                  flor
¿¿t   lailure to wam of the health hazards of exposure to asbestos and failure to design and
25    package its product of raw asbestos so as to adequately protect and wam users of thc
26    dangers ofexposure to asbestos.




        pt¿tN't'[.r¡js' oRrctN^L coMpl.AlNl' troR wRoNcFUt. DË^'t'H                               L2
 I             29.   Further, Supplier Defendants are liable                  to Plaintitï as professional
 2   vendors    of asbestos-containing products, and as such,              because   ofthe Defendants' size.
 3   volume of business and merchandising practices, knew or should have known of the
 4   defects    of the asbestos products they sold, and are strictly liable and negligent for
 5   failing to wam lhe users of potentiat health hazards from the use of said products.
 6             30.   Further, Supplier Def'endants made misrepresentations regarding the
 7   safety of asbestos to the ashstos-product manufacturers, thereby fraudulently inducing
 I   other sophisticated users to use Supplier Defendants' asbestos instead oF other types,
9    As such, Supplier Defendants are tiable to the Plaintit'Ps Decedent EMMANUEL
l0   ENCISCO, JR, suffering lrom                a disease caused by            exposure     to the Supplier
lt   Def'endants' asbestos because Supplier Delendants' fraudulent misrepresentations were
t2   detrimentally relied upon      (l)   by asbestos-product manufacturers incorporating Supplicr
l3   Defendants' raw asbestos into their finished product and (2) by the PlaintifFs Deccdent
l4   EMMANUEL ENCISCO, JR. who was exposed to the asbestos-containing product.
15             31.   Finally, Supplier Defendants are liable to PlaintitT becausc they kncw or
r6   should have known that the asbestos products, which they sold and supplied, were
t7   unreasonably dangelous           in   normal use, and their failure              to   communicate this
r8   information constitutes negligence. This negligence wås the cause                         of PlaintifPs
r9   Decedent's injuries, including but no¡ limited to, mesothelioma, asbestosis, asbestos-
20   induced pleural diseaæ and other         ill   health eftþcts and death.
2l

22                                             couNT rftREE
23                       ALLEGATIq¡YS ACATNST FRICTION pEFpNpANr
24             32.   All of the allegations         contained in the previous paragraphs are re-alleged
25   herein.
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       Pr.^tN1'tl]FS' ORtGIN^t, COMPt,^tN1' fOR WRONG¡:U l. t)1.:^Tl   r                                r3
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 I           (a)       for many decades, Defendants, individually, jointly, and in conspiracy
 2   with each other and other entities, have been in possession of medical and scientific
 3   data, literature and test ¡'eports which clearly indicated that the inhalation of asbestos
 4   dust and fibers resulting from the ordinary and foreseeable use of said asbestos-
 5   containing products were unreasonably dangerous, hazardous, deleterious to human
 6   health, carcinogenic, and potentially deadly;
 7           (b)      despite the medical and scientific data, literature and test reports
 I   possessed     by and available to Defendants, Det'endants individually, jointly, and in
 9   conspiracy with each
r0   other and other entities, lraudulently,           willfully, and rnaliciously:
ll           (¡)      withheld, concealed and suppressed said medical and scientific      data,
t2   literature and test repofts regarding the risks of asbestosis, cancer, mesotheliomâ and
t3   other illnesses and diseæes from Plaintiffs Decedent who was using and being
t4   exposed to Defendants' asbestos-containing products;
l5           (¡i)     caused to be released, published and disseminated medical and scientific
l6   data, literatu¡e and test reports containing information and statements regarding the
t7   risks   of   asbestosis, cancer, meso¡helioma and other illnesses and diseases, which
r8   Defendants knew were incorrect, incomplete, ouldated and misleading; and
l9           (ii¡)    distorted the results of medical examinationb conducted upon PlaintifFs
20   Decedent EMMANUEL ENCISCO, JR. and workers such as Plaintifls Decedent
2L   EMMANUEL ENCISCO, JR. who were using asbestos-containing products and being
22   exposed to the inhalation of asbestos dust and lìbers by falsely stat¡ng or concealing the
23   nature and extent of the harm to which PlaintifPs Decedent EMMANUEL ENCISCO,
24   JR. and workers such as PlaintifFs Decedent EMMANUEL ENCISCO, JR.                    havc
2S   suffered.
26




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 I            (c)     Other conspirators participating   in the conspiracy, or in ongoing or
 2   subsequent conspiracies           were (hereinatler called the "conspirators") rnernber
 3   companies in the Quebec Asbestos Mining Association, the Asbestos Textile Institute,
 4   or the.lndustriat Hygiene Foundation. Âcting in concert, the conspirators fraudulently
 5   misrepresented to the public and public officials, inter alia, that asbestos did nor cause
 6   cancer and that the diseæe asbestosis had no association rvith pleural and pulmonary
 7   cancer and atfÏrmatively suppressed inforrnation concerning the carcinogenic and other
 I   adverse effects of asbestos exposure on the human respiratory and digestivc systems.
 9            (d)     ln addition, Defendants contrived, combined, confederated and conspired
l0   through a series of industry trade ¡àeetings and the creation of organizations such as the
u    Air Hygiene       Foundation (later the Industrial Hygiene Foundation)              to   establish
L2   authoritâtive standards tbr the control of industrial dusts which would act as a defense
r3   in   personal injury lawsuits, despite knowing that cornpliance wirh sr¡ch standards
l4   would not protect workers such as PlaintifPs l)ecedent EMMANUEL ENCISCO, JR.
l5   from contracting asbestos disease or cancer.
l6           (e)     In furtherance of said conspiracies, Defendants and their co-conspirators
t7   contributed    to cause the       establishment      of a Threshold Limit Value flor asbestos
t8   exposure, and contributed to the maintenance               of such Threshold Limit Value   despite
r9   evidence that this supposed "sâfe" level of exposure to asbestos would not protect the
20   health of workers such as Plaintiff's Decedent EMMANUEI- ENCISCO, JR. even                         if
2t   complied with.
22           (Ð As the direct and proxirnate result of the lalse and liaudulent
23   representations, omissions and concealments set forth above, Dcfendants, individually.
24   jointly, and in conspiracy with each other, intended to induce the Plaintift's           Decedent
25   EMMANUEL ENCISCO, JR. to rely upon said false and fraudulent representations,
26   omissions and concealments, to continue to expose themselves to the dangers inherent




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     I   in the use of and exposure to Defendants' asbestos-containing products which caused
 2       the release of respirable asbestos fibers.
 3                 37.   Plaintiffls Decedenr EMMANUEL ENctsco, JR. reasonably and                          in
 4       good faith relied upon the false and flraudulent rcpresentations, omissions                     and
 5       concealments made by the Defendants regarding the nature of rheir asbestos-containing
 6       products.
 7                 38.   As a direct and proximate result of PlaintifPs Decedent EMMANUEL
 8       ENCISCO, JR.'s reliance            on    Defendants' false and f'raudulent rcprescntat¡ons,
 9       omissions and concealmenrs, Plaintiffs Decedent EMMANUEL ENclSCo, JR,
t0       sustained damages including injuries, illnesses, disabilities and dcath and was been
ll       deprived ofl the opportunity of informecl free choice in connection with thc use of and
t2       exposure to Defendants' asbestos-containing products.
r3

l4                                                  COUNT FIVE
l5           cRoss NEcLlcENc,B ALLEGATTONS                         AGAIN_ST       ALL DEFEIì|DANTS
r6                 39,   All of   the allegations contained in the previous paragraphs are re-atleged
t7       herein.
l8                 40.   The actions and inactions of Defendants and their                 prectecessors-in-
r9       interest, as specifically alleged hereinabove, whether taken separately or together, were
20       of such a character as to constitute a pattern or practice of gross negligence, intentional
2!       wrongful conduct         or   malice resulting    in   damages and injuries      to rhe Plaintiff.
22       Defendants' conduct rvas specifically intended by Defenclants to cause substantial
23       injury to PlaintifPs Decedent EMMANUEL ENclSco, JR., or was carriecl out by
24       Defendants with a flagrant disregard for the rights of others and with actual awareness
25       on the part of Defendants that the conduct would, in reasonable probability, result in
26       human deaths       or great bodily harm. Mo¡r                  specifically, Delcndants and their



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 t   claims under federal law; instead, Plaintiff is simply using the violation of federal
 2   standards as proofof liability on the¡r state-law theories. Further, the referedce to
 3   Federal regulations does not create a Federal question. See Merrell Dow
 4   Phar¡naceuticals, Inc. v. Thompson,478 U.S. 804 (1986). Any removal on this basis
 5   will   be met with an immediate motion tbr remand and for sanctions,
 6             48.          The negligence per se of each Delþndant was a proximate cause of
 7   Plaintifls Decedent EMMANUEL ENclSco, JR. injulies, illness                       and death.
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                                                    COUNT EIGHT
l0      LOSS OF CONSORTISM A!-lf_E-cATroNS AGAINST                                      pE[lpNpANTS
                                                                                  ^LL
'1
t2             49.
                     '               vlcroRlA ENcIsco, on Her own Behatf and on
                           Plaintiff JOANN
l3   Behalf      of All other statutoty Benetìciaries o/ EMMANUEL ENcrsco, JR.,
l4   Decedsed, and            on Behalf of the ESTATE oF EIvIMANUEL ENclsco, JR. as irs
l5   Personal Representalive brings this cause of action against all Defendants for the loss
r6   of     consort¡um         in the relationship        between their father, Plaintiff's Decedent
t7   EMMANUEL ENCISCO, JR., and herself. Plaintiff has sufi'ered damages, both pasr
l8   and future, as a result of the acts and omissions of the Defendants described herein.
l9   l'he physical injuries and death were I direct and proximate cause by the Defendants to
20   Plaintiff's Decedent EMMANUEL ENClSco, JR., and, the injuries and dearh of
2t   PlaintifFs Decedent EMMANUEL ENCISCO, JR., have detrimentally impaired the
22   love, companionship, comfoñ, affection, solace, and moral support, that Plaintit'f once
23   shared    in their relationship with her father, causing her pain and sulfering in the         past
24   and to which they          will   in atl likelihood continue to suffer in rhe future.
25

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       Pl.A tNt'lFl.'s'   oRlctNAl. coMpt.^lNï FoR WRONCFUt.   DUA'|'H                              r9
 I                                                 DAMAGES
 2             50.    At all material time hereto, Defendants acted with an evil mind to                serve
 3   their orvn interests, having reason to know and consciously disregarding a substantial
 4   risk that their conduct nright signifìcantly injure the rights of others, including Plaintiff,
 5   and consciously pursued a couse of conduct knowing that                   it created   a substantial risk
 6   ofl signifìcant harm to others, including PlaintifPs Decedent, and by reason thereof,
 7   Plaintiff dem.ands punitive damages against Defendants, in an amount to be ploven at
 I   tri al.
 9             51.    The conduct of Defendants, as alleged hereinabove, was a                         direct,
t0   proximate and producing cause of the damages resulting from asbestos-relared lung
t1   disease    of PlaintifPs Decedent EMM^NUEL ENCISCO, JR., and of the following
l2   general and special damages including:
t3             (a)    Damages      to   punish Defendants         tbr     proxinìâtely causing PlaintitPs
l4   Decedent EMMANUEL ENCISCO, JR.'s untimely injuries illness, and death;
l5             (b)    The disfigurement sutÏered by Plaintiffls Decedent EMMANUEL
t6   ENCISCO, JR.;
t7             (c)    Reasonable and necessary medical expenses incurred                       by Plaintitls
18   Decedent EMMANUEL ENCISCO, JR.;
19             (d)    Plaintiffs   Decedent     EMMANUEL ENCISCO, JR.'s losr earnings                     and
20   net accumulations;
2t             (e)    For funeral and burial expenses;
22             (l)    Past and future loss      of love, companionship, comfon, affection,            solace,
23   moral support and/or society, which Plaindtï would have received from her t'ather
¿4   PlaintifPs Decedent EMMANUEL ENCISCO, JR.'s prior to his illness and disability
25   caused by his exposure to asbestos¡ and
26             (g)    Plaintiff seeks punitive and exemplary damages.



        Pl.^tN'l'rFË' oRrctN^r. coMf't.^tNl' rjoR wRoNGruL t)li^l't   r                                  20
     I              (h)      By their acts and omissions described herein, Defendants intentionally,
     2   knowingly and recklessly caused serious bodily injury                         to   PlaintifPs Decedent
 3       EMMANUEL ENCISCO, JR.
 4                  52.      Plaintiff filed suit within two (2) years             of the dare of   discovering
 5       PlaintitÌ's Decedent EMMANUËL ENCISCO, JR,'s asbestos-related conditions or                           rhe
 6       existencç of any asbestos-related causes of action.
 7                  53.      Plaintiff discovered Plaintiffs Decedent EMMANUEL ENCISCO, JR.'s
 I       injury and its cause less then two years prior to the fìling of this perition,
 9                  54.     Pursuant to Arizona Rules ot'              Civil Procedure, Rule B(b)(2), plaintilf
l0       claims damages           in   excess   of $300,000,00, and, therelore, pleads that this matter
1l       qualifies as a tier 3 case under Arizona Rules of Civil procedure, Rule 26.2(cX3).
t2                 WHEREFORE, PREMISËS CONS|DERED, plainriff prays for judgment
t3       against each of the Defenhants, and each of them, jointly and severally, as lbllows:
t4
         .          l.      For a sum that is reasonable and just as and for Plaintift's' damages
l5                          incuned under the Arizona wrongful Death Acr, A.R.s. |i12-61l, et.
t6                          seq.;
t7                 2,       For general compensatory darnages in an amount to be prcven at trial;
r8                 3.       For special damages insurred to date, including but not timited to all
l9                          economic losses, funeral expenses, burial expenses, and medical
20                          expenses in an amount to be proven at trial;
21                 4.       For punitive damages in an amount to be proven at trial;
22                 5.       For an.amount representative to Plaintitt's Decedent's medical                 and
23                          related expenses incuned and to be incurred in the future in such amounts
24                          to be proven at trial;
25                 6.       For loss of past and future income and other economic rosses suffered by
z6                          Plaintiffs in such amounts to be proven at trial herein;



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 I          7        For all costs incurred herein;
2           I        For interest on said judgment from the date this action accrued until paid,
3                   and for such other and further relief as the Coull deems just in the
4                    premises,
 5          9.       For their costs expended herein, t'or interest on said judgment from thc
6                   date this action accrued until paid, at the legal rate, and fbr such other and
 7                   further relielì both at law and in equity, to which Plaintiffs may shorv
I                   themselves justly ent¡tled.
9

l0                                               JURY DEMAND
lr
t2          Plaintifti demand that all            issues     of fact in this case be u'ied to a properly
l3   impaneled jury.
l4

l5          DATED this      3I
                                 3r
                                      day of July, 20 I 8.
r6                                               ELY, BETTTNI, ULMAN C KOSUXBLATT
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r9                                               By:     /s/Burt Rosen
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                                                         Burt Rosenblatt, Esq.
                                                         3200 N. Central Avenue, Su¡te 1930
?l                                                       Phoenix, Arizona 85012
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